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                                                       7
                                                           Attorneys for Defendants
                                                       8
                                                           SELECT PORTFOLIO SERVICING, INC.; U.S. BANK NA, SUCCESSOR
                                                       9   TRUSTEE TO BANK OF AMERICA, NA, SUCCESSOR IN INTEREST TO
                                                           LASALLE BANK NA, AS TRUSTEE, ON BEHALF OF THE HOLDERS OF THE
                                                      10
                                                           WAMU MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2007-HY6
                                                      11   (erroneously sued as “US BANK, N.A.”)
                                                      12
                                                                               UNITED STATES DISTRICT COURT
                 300 South Grand Avenue, Suite 2600




                                                      13
                                                                             CENTRAL DISTRICT OF CALIFORNIA
Locke Lord LLP
                       Los Angeles, CA 90071




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                                                      15   PAULINO F. SEGURA                  )       CASE NO. 8:16-cv-01571-JLS-FFM
                                                                                              )
                                                      16                                      )
                                                                                Plaintiff,    )       CERTIFICATION OF
                                                      17                                      )       INTERESTED PARTIES
                                                                  v.                          )
                                                      18                                      )       [Removed from Superior Court of
                                                                                              )       California, County of Orange – Case
                                                      19   SELECT PORTFOLIO SERVICING, INC.; )
                                                                                              )       No. 30-2016-00865579-CU-OR-CJC]
                                                           US BANK, N.A.; JPMORGAN CHASE      )
                                                      20
                                                           BANK, N.A.; and DOES 1 through 50, )       Complaint Filed: July 21, 2016
                                                      21   inclusive,                         )
                                                                                              )
                                                      22                                      )
                                                                                Defendants.   )
                                                      23                                      )
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                                                                              CERTIFICATION OF INTERESTED PARTIES
                                                      Case 8:16-cv-01571-JLS-FFM Document 16 Filed 10/14/16 Page 2 of 3 Page ID #:249



                                                       1         TO THE CLERK OF THE ABOVE-ENTITLED COURT, ALL
                                                       2   INTERESTED PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                       3         PLEASE TAKE NOTICE that Defendants Select Portfolio Servicing, Inc.
                                                       4   (“SPS”) and U.S. Bank NA, successor trustee to Bank of America, NA, successor in
                                                       5   interest to LaSalle Bank NA, as trustee, on behalf of the holders of the WaMu
                                                       6   Mortgage Pass-Through Certificates, Series 2007-HY6 (erroneously sued as “US
                                                       7   Bank, N.A.”) (“U.S. Bank as Trustee”) (collectively, “Defendants”) hereby provide
                                                       8   notice of any known parties which may have a pecuniary interest in the outcome of
                                                       9   the case.
                                                      10         The undersigned, counsel of record for Defendants, certifies that the following
                                                      11   listed party (or parties) may have a pecuniary interest in the outcome of this case.
                                                      12   These representations are made to enable the Court to evaluate possible
                 300 South Grand Avenue, Suite 2600




                                                      13   disqualification or recusal.
Locke Lord LLP
                       Los Angeles, CA 90071




                                                      14         1.     Plaintiff Paulino F. Segura;
                                                      15         2.     Defendant SPS is a wholly-owned subsidiary of SPS Holding Corp.
                                                      16         (“SPSHC”), a Delaware corporation. SPSHC is wholly owned by Credit Suisse
                                                      17         (USA), Inc. Credit Suisse (USA), Inc. is a wholly-owned subsidiary of Credit
                                                      18         Suisse Holdings (USA), Inc., which is a jointly-owned subsidiary of (1) Credit
                                                      19         Suisse AG and (2) Credit Suisse Group AG, Guernsey Branch, which is a
                                                      20         branch of Credit Suisse Group AG. Credit Suisse AG has publicly registered
                                                      21         debt securities and warrants in the United States and elsewhere. Credit Suisse
                                                      22         AG is a wholly-owned subsidiary of Credit Suisse Group AG, which is a
                                                      23         corporation organized under the laws of the Country of Switzerland and whose
                                                      24         shares are publicly traded on the SIX Swiss Exchange and are also listed on the
                                                      25         New York Stock Exchange in the form of American Depository Shares. No
                                                      26         other publicly held company owns 10 percent or more of the stock of Select
                                                      27         Portfolio Servicing, Inc.;
                                                      28
                                                                                                    2
                                                                                  CERTIFICATION OF INTERESTED PARTIES
                                                      Case 8:16-cv-01571-JLS-FFM Document 16 Filed 10/14/16 Page 3 of 3 Page ID #:250



                                                       1        3.    Defendant U.S. Bank as Trustee. U.S. Bancorp, a parent company of
                                                       2        U.S. Bank National Association, is a publicly traded company.;
                                                       3        4.    Defendant JPMorgan Chase Bank, N.A.
                                                       4

                                                       5   Dated: October 14, 2016                   Respectfully submitted,
                                                       6                                             LOCKE LORD LLP
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                                                                                                     By: /s/ Deleyla A. Lawrence
                                                       9                                                    Conrad V. Sison
                                                      10                                                    Deleyla A. Lawrence
                                                                                                     Attorneys for Defendants SELECT
                                                      11                                             PORTFOLIO SERVICING, INC.; U.S.
                                                      12                                             BANK NA, SUCCESSOR TRUSTEE
                                                                                                     TO BANK OF AMERICA, NA,
                 300 South Grand Avenue, Suite 2600




                                                      13                                             SUCCESSOR IN INTEREST TO
Locke Lord LLP




                                                                                                     LASALLE BANK NA, AS TRUSTEE,
                       Los Angeles, CA 90071




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                                                                                                     ON BEHALF OF THE HOLDERS OF
                                                      15                                             THE WAMU MORTGAGE PASS-
                                                      16                                             THROUGH CERTIFICATES, SERIES
                                                                                                     2007-HY6 (erroneously sued as “US
                                                      17                                             BANK, N.A.”)
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                                                                               CERTIFICATION OF INTERESTED PARTIES
